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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Norix Group, Inc.
                                                   Plaintiff,
v.                                                              Case No.: 1:17−cv−07914
                                                                Honorable John Robert
                                                                Blakey
Correctional Technologies, Inc. d/b/a Cortech
USA, et al.
                                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 30, 2024:


        MINUTE entry before the Honorable M. David Weisman: Magistrate status
hearing held. Discussion held regarding joint settlement conference with Norix v.
Correctional Technologies, 20 C 1158. Settlement letters limited to 7 pages, which shall
be used only if necessary. The 7−page limit does not include exhibits, such as damages
spreadsheets. Hard copies of settlement letters to be delivered to Judge Weisman's
chambers no more than 7 days prior to the settlement conference. For further details as to
the settlement conference, see related order in 20 C 1158. Mailed notice (ao, )




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